1. The contract in question is in effect a subletting of the contract between the State Highway Department and Wilcox County.
2. A valid contract to improve and construct a section of a State-aid road established by the highway department may be sublet by the county to a competent contractor, without advertising and letting to the lowest bidder, under the Code, § 23-1702. Waters v. Hall County, 174 Ga. 596 (2) (163 S.E. 609).
3. In City of Abbeville v. Eureka Fire Hose Manufacturing Co., 177 Ga. 204 (2) (170 S.E. 23), it was held: "A municipal corporation can make a cash contract for current supplies, such as hose and hose reel, for protection from fire, through its appropriate officers or committees, as effectually as by formal order or resolution entered on its minutes. *Page 384 
Such a contract, if not authorized or confirmed in the mode commonly practiced, may become obligatory by implied ratification; as, by taking the fruits of the contract and enjoying them for a considerable time without notice of objection, and by issuing warrants therefor. Ratification in the present case was made by issuing warrants for the amount of the articles purchased."
4. "Where one entered into a contract with the proper county authorities for the furnishing of material and for the building of a court-house, and the work contemplated by the contract was finished and accepted by the proper county authorities before the contract was entered on the minutes of the ordinary, such a contract was unenforceable until entered on the minutes of the ordinary, but where this was done after the completion of the work, in compliance with a judgment in mandamus proceedings instituted to compel the entry of the contract on the minutes, the defect resulting from a failure to enter the contract on the minutes before the work was begun or completed was cured, and the contract was enforceable by an action instituted thereon." Wagener v. Forsyth County,  135 Ga. 162 (68 S.E. 1115).
5. Applying the principles stated above to the pleadings and facts of the instant case, the judge did not err in denying an injunction. A different result is not required by the rulings in Bird v. Franklin, 151 Ga. 4 (105 S.E. 834), where the suit was instituted before the work was done, or Griffin
v. Maddox, 181 Ga. 492 (182 S.E. 847), where the contract was never reduced to writing or entered on the minutes.
Judgment affirmed. All the Justicesconcur.
                        No. 13610. JUNE 16, 1941.
On August 28, 1937, Wilcox County, through its commissioners of roads and revenues, entered into a contract with the State Highway Department, whereby the county agreed to grade 1.128 miles in Wilcox County on the Abbeville-McRae road, which had been designated by the State Highway Department as a part of the State-aid system of highways and called State-aid project No. 202. On January 11, 1938, Wilcox County entered into a contract with H. E. Brown, under the terms of which the county agreed to pay thirteen cents per square yard for all dirt moved in grading route 30. Certain citizens and taxpayers instituted an action seeking to enjoin the board of commissioners from issuing warrants to pay Brown under the contract last mentioned, on the grounds; (a) the contract was not entered into at a meeting of the commissioners, but was merely signed by a majority of the members; (b) it was not given to the lowest bidder; (c) it was not entered on the minutes of the board of commissioners; (d) the contractor was not required *Page 385 
to give bond. An interlocutory injunction was granted, which was subsequently dissolved at the instance of the contractor upon a showing by him that the labor had been performed. A writ of error to the Supreme Court was dismissed as premature. Jones v.Graham, 187 Ga. 622 (1 S.E.2d 635). After return of the remittitur to the trial court, the judge heard the case, without a jury, on an agreed statement of facts which showed the facts as indicated above, and further that a resolution was duly passed on May 10, 1938, at a called meeting of the board of commissioners, ratifying the contract between the County of Wilcox and Brown, which was then entered upon the minutes of the board of commissioners. The resolution provided that Brown should give bond, which was done, and stated, among other things, that the board of commissioners had a contract with the State Highway Board for grading part of State Highway route number 30, known as project No. 202; that it was manifestly cheaper and more expedient to enter into the contract with Brown to furnish and operate the machinery necessary in grading the right of way; that Brown agreed to see the work was done in express compliance with the requirements of the State Highway Department; that certain differences arose as to whether Brown was legally employed to perform the services herein enumerated; that Brown has in good faith performed all the services originally agreed upon; that the county has benefited from the results of the work, and in equity and good conscience Brown is entitled to be paid for the services performed; and that the county will receive sufficient funds from the State Highway Department to pay Brown in full. The exception is to a judgment refusing an injunction.